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                IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                    8:92CR14
                              )
          v.                  )
                              )
CLEVELAND JOHNSON,            )                     ORDER
                              )
               Defendant.     )
______________________________)


            This matter is before the Court on defendant’s notice

of appeal (Filing No. 1039).         The Court notes defendant has not

paid the appeal fee; nor has any motion to proceed in forma

pauperis has been received.      The Court will permit defendant to

proceed on appeal in forma pauperis.          However, defendant has not

made a substantial showing of the denial of a constitutional

right, and no certificate of appealability will issue.

Accordingly,

            IT IS ORDERED:

            1) Defendant is permitted to proceed on appeal in forma

pauperis.

            3) No certificate of appealability will issue.

            DATED this 11th day of January, 2007.

                                     BY THE COURT:

                                     /s/ Lyle E. Strom
                                     ____________________________
                                     LYLE E. STROM, Senior Judge
                                     United States District Court
